Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 1 of 122




                        EXHIBIT 5
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 2 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 3 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 4 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 5 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 6 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 7 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 8 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 9 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 10 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 11 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 12 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 13 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 14 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 15 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 16 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 17 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 18 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 19 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 20 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 21 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 22 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 23 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 24 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 25 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 26 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 27 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 28 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 29 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 30 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 31 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 32 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 33 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 34 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 35 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 36 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 37 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 38 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 39 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 40 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 41 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 42 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 43 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 44 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 45 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 46 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 47 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 48 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 49 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 50 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 51 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 52 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 53 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 54 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 55 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 56 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 57 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 58 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 59 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 60 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 61 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 62 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 63 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 64 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 65 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 66 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 67 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 68 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 69 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 70 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 71 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 72 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 73 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 74 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 75 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 76 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 77 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 78 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 79 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 80 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 81 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 82 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 83 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 84 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 85 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 86 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 87 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 88 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 89 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 90 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 91 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 92 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 93 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 94 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 95 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 96 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 97 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 98 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 99 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 100 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 101 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 102 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 103 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 104 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 105 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 106 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 107 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 108 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 109 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 110 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 111 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 112 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 113 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 114 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 115 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 116 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 117 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 118 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 119 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 120 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 121 of 122
Case 1:04-cv-10981-PBS Document 1679-6 Filed 02/23/09 Page 122 of 122
